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                                United States District Court
                                        EASTERN DISTRICT OF TEXAS
                                            SHERMAN DIVISION

       SIEMENS PRODUCT LIFECYCLE                            §
       MANAGEMENT SOFTWARE INC.,                            §
                                                            §
               Plaintiff,                                   §
                                                            §         Civil Action No.: 4:18-cv-00109
       v.                                                   §
                                                            §
       MERCURY METAL FORMING                                §
       TECHNOLOGIES, LLC,                                   §
                                                            §
               Defendant.

                                      FINAL DEFAULT JUDGMENT

            Pursuant to the Memorandum Adopting Report and Recommendation of United States

     Magistrate Judge filed in this matter this date, it is hereby,

            ORDERED, ADJUDGED, AND DECREED that judgment by default is entered in favor

     of Plaintiff Siemens Product Lifecycle Management Software Inc. (“Plaintiff”) and against

     Defendant Mercury Metal Forming Technologies, LLC (“Defendant”), as set forth below:

                1. Total damages in the amount of $311,500.00, comprised of $161,500.00, for breach

                    of contract and $150,000.00, for willful copyright infringement;

                2. Attorneys’ fees in the amount of $17,473.20, and costs in the amount of $1,121.78;

.                   and

                3. Post-judgment interest at the federal rate, compounded annually, from the date of

                    entry of the final default judgment until paid. See 28 U.S.C. § 1961 (2000).

            IT IS SO ORDERED.
            SIGNED this 30th day of October, 2018.




                                             ___________________________________
                                             AMOS L. MAZZANT
                                             UNITED STATES DISTRICT JUDGE
